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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,                               Case No.18-cr-00599-VC-1
                Plaintiff,
                                                         ORDER FOR JURY MORNING
         v.                                              REFRESHMENTS AND MEALS
                                                         DURING DELIBERATIONS
 ISAI ULISES VILLAGOMEZ,
                Defendant.



       IT IS HEREBY ORDERED that, pursuant to the Guide to Judiciary Policy, the Clerk’s

Office shall furnish morning refreshments for the duration of the trial and lunch for the members

of the jury for each day the jury is in deliberations.

       IT IS SO ORDERED.



Dated: March 15, 2022

                                                  ______________________________________
                                                  VINCE CHHABRIA
                                                  United States District Judge
